404 F.2d 613
    ERIE BASIN TERMINAL WAREHOUSE CO., Inc., Plaintiff-Appellant,v.INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, AFL-CIO,Defendant-Appellee, Marine Terminal &amp;Warehousemen's Local 976-4,International Longshoremen'sAssociation,AFL-CIO, Defendant.
    No. 38, Docket 32285.
    United States Court of Appeals Second Circuit.
    Argued Oct. 14, 1968.Decided Oct. 18, 1968.
    
      Stuart A. Summit, Miller &amp; Summit, New York City, for plaintiff-appellant.
      Julius Miller, Gleason &amp; Miller, New York City, for defendant-appellee.
      Schulman, Abarbanel &amp; Kroner, New York City, for defendant.
      Before WATERMAN and MOORE, Circuit, Judges, and BONSAL, District judge.
      PER CURIAM:
    
    
      1
      Appellant commenced its action in the United States District Court for the Southern District of New York to recover damages allegedly caused by a breach of a provision of a collective bargaining agreement that had bound the parties while appellant, which had ceased doing business, had been operating.  Appellee, relying upon provisions of that agreement, moved for an order compelling appellant to submit this claim to arbitration and for a stay of further proceedings in the district court pending the arbitration.
    
    
      2
      Appellee's motion was granted and a stay order entered.  Appellant seeks reversal.  It claims the subject-matter of its civil action is not comprehended within the situations that require submission to arbitration under the collective bargaining agreement.  We hold otherwise, finding that the pertinent paragraphs of that agreement, which are quoted in the four footnotes to the opinion of the court below, reported at 292 F.Supp. 688 (SDNY 1968) require that submission.
    
    
      3
      We affirm the court below substantially upon the reasoning contained in its opinion, 292 F.Supp. 688 (SDNY 1968).
    
    
      4
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        1 Of the Southern District of New York, sitting by designation.
      
    
    